       Case 2:19-cv-02767-JAR-JPO Document 35 Filed 10/08/21 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 DANYALE YARGER, on behalf of herself
 and those similarly situated,

                        Plaintiff,
                                                       Case No. 19-cv-02767-JAR-JPO
         v.

 FRESH FARMS, LLC.

                         Defendant.



                   PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

       For the reasons stated below, Plaintiff respectfully requests that the Court grant this Motion

and enter a Default Judgment for Plaintiff and against Defendant Fresh Farms, LLC in the amount

of $2,500.

       1.      On June 18, 2020, this Court entered an Order permitting the withdrawal of counsel

of record for Defendant, Doc. 18, and on July 7, 2020 this Court entered an Order providing notice

to Defendant that, as a limited liability company, it could not proceed pro se. Doc. 19. Accordingly,

this Court directed that Defendant obtain new counsel by August 3, 2020.

       2.      Defendant did not meet this deadline and, indeed, to date still has not had any

counsel enter an appearance for it in this case.

       3.      Meanwhile, as Plaintiff previously reported to the Court (Doc. 30), the parties

engaged in a period of settlement negotiations that concluded with the parties executing a

settlement agreement on March 8, 2021 to resolve this case. However, Defendant is in breach of

its obligations under that agreement.




                                                   1
       Case 2:19-cv-02767-JAR-JPO Document 35 Filed 10/08/21 Page 2 of 3




       4.      On June 1, 2021, this Court ordered the parties either to file a stipulation of

dismissal signed by the parties pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure,

or, alternatively, directed Plaintiff to file a motion to enforce the settlement agreement. Doc. 31.

       5.      Plaintiff filed the motion directed by the Court, Doc. 32, but during a September

21, 2021 hearing the Court directed Plaintiff instead to file a motion for default judgment. Doc.

34.

       6.      Accordingly, because Defendant still has not obtained counsel and is in breach of

the parties’ settlement agreement, Plaintiff now seeks entry of a final Default Judgment in the

amount of $2,500, which is the sum owed under the parties’ settlement agreement (previously

attached as Exhibit 1 to Doc. 32).

       WHEREFORE, Plaintiff respectfully requests that the Court grant this Motion and enter a

final Default Judgment in her favor and against Defendant Fresh Farms, LLC in the amount of

$2,500.


Dated: October 8, 2021                                Respectfully submitted by:

                                                      BOULWARE LAW LLC

                                                       /s/ Jeremy M. Suhr
                                                      Brandon J.B. Boulware       KS # 25840
                                                      Jeremy M. Suhr              KS # 24025
                                                      1600 Genessee, Suite 416
                                                      Kansas City, Missouri 64102
                                                      Tele/Fax:     (816) 492-2826
                                                      brandon@boulware-law.com
                                                      jeremy@boulware-law.com

                                                      Counsel for Plaintiff and the Putative Class




                                                  2
       Case 2:19-cv-02767-JAR-JPO Document 35 Filed 10/08/21 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of October 2021 I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF e-filing system, which will send a notice

of electronic filing to counsel of record in this case. A copy will also be sent via email to the email

address provided for Defendant in connection with Defendant counsel’s motion to withdraw (Doc.

17), and via US Mail, as follows:

       Fresh Farms LLC
       2601 S. Minnesota Ave., Ste. 105-257
       Sioux Falls, SD 57105

                                                       /s/ Jeremy M. Suhr
                                                       Attorney for Plaintiff




                                                  3
